Case 8:21-bk-10768-SC           Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39              Desc
                                 Main Document    Page 1 of 8


     MARC Y. LAZO, SBN: 215998
 1   K&L LAW GROUP, P.C.
 2   2646 Dupont Drive, Suite 60340
     Irvine, CA 92612
 3   Phone No.: (949) 216-4000
     Fax No.:      (800) 596-0370
 4
 5   Attorneys for Plaintiff K&L LAW GROUP, P.C.,

 6
                                  UNITED STATES BANKRUPTCY COURT
 7
 8                           FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9
                                                     )
10                                                   )   Case No: 8:21-BK-10768-MW
      In re:
11                                                   )   Chapter 7
      Steve Yuk Kin Woo,                             )
12                                                   )   Adversary Proceeding No. _______________
                                 Debtors.            )
13                                                   )
                                                         COMPLAINT TO DETERMINE (1)
14                                                   )   NON-DISCHARGEABILITY OF DEBT
      K&L Law Group, P.C.,                           )   AND OBJECTION TO DISCHARGE
15                                                   )   OF DEBTOR PURSUANT TO 11 U.S.C.
                                 Plaintiff           )   § 523(a)(3), 11 U.S.C. § 727(a)(2)(A) and
16                                                   )   (B) and 11 U.S.C. § 727(a)(4)
          v.
17                                                   )
      Steve Yuk Kin Woo,                             )
18                                                   )
                                 Defendant.          )
19
      ___________________________________
20
21             Comes now, K&L LAW GROUP, P.C. (“Plaintiff”), in the above-captioned bankruptcy case,

22   by and through their attorneys of record, K&L Law Group, P.C., files this adversary complaint pursuant

23   to Bankruptcy Rule 7001(4) and 7001(6), 11 U.S.C. §523(a)(3), 11 U.S.C. §727(a)(2)(A) and (B) and

24   11 U.S.C. § 727(a)(4) against Defendant STEVE YUK KIN WOO (“Defendant”) as follows:

25                                           JURISDICTION AND VENUE

26             1.     This adversary proceeding is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(I) and

27   §157(b)(2)(J).

28


                                                         -1-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
Case 8:21-bk-10768-SC           Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39                  Desc
                                 Main Document    Page 2 of 8



 1           2.      Defendant filed a voluntary Chapter 7 bankruptcy proceeding on March 25, 2021,
 2   seeking relief in the United States District Court, Central District of California, Case No. 8:21-bk-
 3   10768-MW.
 4           3.      As of the date of this Complaint, Defendant has not been granted a discharge.
 5           4.      This complaint is timely because the date by which a complaint objecting to the Debtor’s
 6   discharge or to determine dischargeability of a debt is July 6, 2021.
 7           5.      This court has jurisdiction over the subject matter and the parties of this adversary
 8   proceeding pursuant to 28 U.S.C. §1334; 11 U.S.C. §523 and 727, and Bankruptcy Rule 7001.
 9           6.      Venue is proper in the Central District of California pursuant to 28 U.S.C. §1408(1) and
10   1409(a) as this is a proceeding arising in a case commenced by the Debtor and filed in the Central
11   District of California under chapter 7 of the Bankruptcy Code, Case No. 8:21-bk-10768-MW.
12                                       PRELIMINARY STATEMENT
13           7.      Plaintiff brings this action pursuant to 11 U.S.C. § 523(a)(3) which provides in pertinent
14   part that:
15                “(a)      A discharge under section 727, 1141, 1192, 1228(a), 1228(b), or
                  1328(b) of this title does not discharge an individual debtor from any debt—
16
17                (3)        neither listed nor scheduled under section 521(a)(1) of this title,
                  with the name, if known to the debtor, of the creditor to whom such debt is
18                owed, in time to permit—
19
                  (A)        if such debt is not of a kind specified in paragraph (2), (4), or (6) of
20                this subsection, timely filing of a proof of claim, unless such creditor had
                  notice or actual knowledge of the case in time for such timely filing; or
21
22                (B)        if such debt is of a kind specified in paragraph (2), (4), or (6) of
                  this subsection, timely filing of a proof of claim and timely request for a
23                determination of dischargeability of such debt under one of such paragraphs,
                  unless such creditor had notice or actual knowledge of the case in time for
24                such timely filing and request;”
25           8.      Plaintiff also brings this complaint pursuant to 11 U.S.C. § 727(a)(2)(A) and (B), which
26   provides in pertinent part, that:
27
                  “(a)       The court shall grant the debtor a discharge, unless—
28


                                                          -2-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
Case 8:21-bk-10768-SC          Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39                       Desc
                                Main Document    Page 3 of 8



                  (2)        the debtor, with intent to hinder, delay, or defraud a creditor or an
 1
                  officer of the estate charged with custody of property under this title, has
 2                transferred, removed, destroyed, mutilated, or concealed, or has permitted to
                  be transferred, removed, destroyed, mutilated, or concealed—
 3
                  (A)        property of the debtor, within one year before the date of the filing
 4
                  of the petition; or
 5
                  (B)       property of the estate, after the date of the filing of the petition;”
 6
 7          9.      In addition, Plaintiff brings this complaint pursuant to 11 U.S.C. 727(a)(4) which
 8   provides in pertinent part:
 9
                  “(a)      The court shall grant the debtor a discharge, unless—
10
                  (4)      the debtor knowingly and fraudulently, in or in connection with
11                the case—
12
                  (A)       made a false oath or account;
13
                  (B)       presented or used a false claim;
14
15                (C)       gave, offered, received, or attempted to obtain money, property,
                  or advantage, or a promise of money, property, or advantage, for acting or
16                forbearing to act; or
17                (D)          withheld from an officer of the estate entitled to possession under
18                this title, any recorded information, including books, documents, records,
                  and papers, relating to the debtor’s property or financial affairs;
19
20          10.     Plaintiff seeks judgment for, inter alia, denial of Defendant’s discharge and for a
21   determination that Defendant’s debt to Plaintiff is deemed non-dischargeable pursuant to 11 U.S.C.
22   §523 and §727 as provided herein.
23
                                          FACTUAL ALLEGATIONS
24
            11.     Attorney Marc Lazo previously represented Defendant in several litigation and
25
     bankruptcy matters, including, but not limited to, Szeto v. Woo, bearing San Bernardino Superior Court
26
     Case No. CIVDS1413256, Pacific Mercantile Bank v. Steve Yuk Woo, Orange County Superior Court
27
     Case No. 30-2014-00762327-CU-CO-CJC and In Re EQD Corporation, United States Bankruptcy
28
     Court, Central District of California, Case No. 8:14-bk-15778-ES.

                                                          -3-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
Case 8:21-bk-10768-SC          Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39                   Desc
                                Main Document    Page 4 of 8



 1          12.     Defendant owes attorney’s fees to Marc Lazo for his representation of Defendant in the
 2   above referenced matters.
 3          13.     On July 20, 2018, Defendant filed a Verified Complaint against Kent Salveson, EQD,
 4   LLC, and Clear Sun, Inc., in the Orange County Superior Court in the matter entitled Woo v. Salveson,
 5   et al., bearing Orange County Superior Court Case No. 30-2018-01008631-CU-CO-CJC, for Breach
 6   of Contract, Fraud, Breach of Fiduciary Duty, Negligence (legal malpractice) and defamation (“Woo
 7   Matter”). The Woo Matter is an unlimited matter wherein Defendant is seeking damages in excess of
 8   $25,000.
 9          14.     On May 12, 2020, Marc Lazo filed a Notice of Attorney Lien (“Lien”) in the Woo Matter
10   against all proceeds on any settlement or judgment rendered in favor of Defendant to satisfy the
11   outstanding fees due in the above matters.
12          15.     Shortly after May 12, 2020, Marc assigned the Lien in the Woo Matter to his law firm
13   K&L Law Group, P.C., in which he is a shareholder (“Assignment”). Accordingly, Plaintiff is a
14   creditor to Defendant by virtue of the Assignment.
15          16.     On or about April 1, 2021, Plaintiff was informed that Defendant filed a Notice of Stay
16   in the Woo Matter pending the within bankruptcy petition filed on March 25, 2021 (DOC 1).
17          17.     Defendant concealed and failed to identify the matter of Woo v. Salveson as an asset in
18   Section 33 of his Bankruptcy Petition (DOC 1, Page 15 of 73), in violation of 11 U.S.C. §727(a)(2),
19   (4); see also Hamilton v. State Farm Fire Cas. Co., 270 F. 3d 778, 785 (9th Cir. 2001) (a bankruptcy
20   petition must disclose “all assets, including contingent and unliquidated claims,” such as potential
21   lawsuits) and United States v. Whiting Pools, 462 US 198 205 n. 9 (1983) (a lawsuit based on events
22   occurring prior to the filing of a bankruptcy petition is a claim existing as of the date the petition is
23   filed; accordingly, the claim is property of the estate under 11 USC §541(a)(1).).
24          18.     Additionally, notwithstanding the filing of the Lien in the Woo Matter, Defendant
25   intentionally concealed and failed to identify Marc Lazo or K&L Law Group, P.C., as a liability/creditor
26   in his bankruptcy schedules, in violation of 11 U.S.C. §727(a)(2), (4); See In re Beezley, 994 F. 2d
27   1433, 1437, 1441 (9th Cir. 1993) (when a debtor fails to schedule a liability within his bankruptcy
28   schedules, the creditor can seek later to have the liability declared non-dischargeable.)


                                                          -4-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
Case 8:21-bk-10768-SC           Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39                   Desc
                                 Main Document    Page 5 of 8



 1          19.      Plaintiff is informed and believes that Defendant purposefully and intentionally omitted
 2   the Woo Matter and pending Lien in the Woo Matter to conceal this asset from this Court so he can
 3   simply pocket any settlement or judgment and never make a single payment to any of the creditors,
 4   including Plaintiff.
 5                                       FIRST CAUSE OF ACTION
                                              (Against Defendant)
 6
                        For a Determination that Defendant’s Debts are not Dischargeable
 7                                     Pursuant to 11 U.S.C. § 523(a)(3)

 8
            20.      Plaintiff incorporates by reference the allegations contained above, as though set forth
 9
     fully herein.
10
            21.      11 U.S.C. § 523(a)(3) which provides in part that:
11
                  “(a)      A discharge under section 727, 1141, 1192, 1228(a), 1228(b), or
12                1328(b) of this title does not discharge an individual debtor from any debt—
13
                  (3)        neither listed nor scheduled under section 521(a)(1) of this title,
14                with the name, if known to the debtor, of the creditor to whom such debt is
                  owed, in time to permit—
15
16                (A)        if such debt is not of a kind specified in paragraph (2), (4), or (6) of
                  this subsection, timely filing of a proof of claim, unless such creditor had
17                notice or actual knowledge of the case in time for such timely filing; or
18                (B)        if such debt is of a kind specified in paragraph (2), (4), or (6) of
19                this subsection, timely filing of a proof of claim and timely request for a
                  determination of dischargeability of such debt under one of such paragraphs,
20                unless such creditor had notice or actual knowledge of the case in time for
                  such timely filing and request;”
21
            22.      Defendant knew or should have known that Marc Lazo or K&L Law Group, P.C., was
22
     a creditor by virtue of the filing of the Lien in the Woo Matter.             Notwithstanding, Defendant
23
     purposefully and intentionally failed to identify Marc Lazo or K&L Law Group, P.C., as a
24
     liability/creditor in his bankruptcy schedules, in violation of 11 U.S.C. §727(a)(2), (4); See In re
25
     Beezley, 994 F. 2d 1433, 1437, 1441 (9th Cir. 1993) (when a debtor fails to schedule a liability within
26
     his bankruptcy schedules, the creditor can seek later to have the liability declared non-dischargeable.)
27
28


                                                          -5-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
Case 8:21-bk-10768-SC            Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39                       Desc
                                  Main Document    Page 6 of 8



 1           23.     Accordingly, pursuant to 11 U.S.C. § 523(a)(3) Defendant is not entitled to discharge.
 2   Additionally, this court should not grant Defendant a discharge as the debtor intended to hinder, delay,
 3   defraud Plaintiff, and conceal the Lien. 11 U.S.C. § 727(a)(2)(A) and (B)
 4
                                         SECOND CAUSE OF ACTION
 5
                                                (Against Defendant)
 6                        For a Determination that Defendant’s Debts are not Dischargeable
                                    Pursuant to 11 U.S.C. § 727(a)(2)(A) and (B)
 7
 8           24.     Plaintiff incorporates by reference the allegations contained above, as though set forth
 9   fully herein.
10           25.     Pursuant to 11 U.S.C. § 727(a)(2)(A) and (B), which provides in part, that:
11
                   “(a)       The court shall grant the debtor a discharge, unless—
12
                   (2)        the debtor, with intent to hinder, delay, or defraud a creditor or an
13                 officer of the estate charged with custody of property under this title, has
14                 transferred, removed, destroyed, mutilated, or concealed, or has permitted to
                   be transferred, removed, destroyed, mutilated, or concealed—
15
                   (A)        property of the debtor, within one year before the date of the filing
16                 of the petition; or
17
                   (B)        property of the estate, after the date of the filing of the petition;”
18
             26.     Defendant concealed and hid from this Court the Woo Matter, an asset in excess of
19
     $25,000 (unlimited jurisdictional amount of Woo Matter), in violation of 11 U.S.C. §727(a)(2), (4); see
20
     also Hamilton v. State Farm Fire Cas. Co., 270 F. 3d 778, 785 (9th Cir. 2001) (a bankruptcy petition
21
     must disclose “all assets, including contingent and unliquidated claims,” such as potential lawsuits) and
22
     United States v. Whiting Pools, 462 US 198 205 n. 9 (1983) (a lawsuit based on events occurring prior
23
     to the filing of a bankruptcy petition is a claim existing as of the date the petition is filed; accordingly,
24
     the claim is property of the estate under 11 USC §541(a)(1).).
25
             27.     The Woo Matter was filed on July 30, 2018, and was currently pending when Defendant
26
     filed his bankruptcy petition on March 25, 2021. In fact, Defendant filed a Notice of Stay in the Woo
27
     Matter on April 1, 2021, after he filed his bankruptcy petition.        As such, Defendant knew or should
28
     have known that he was to disclose the Woo Matter as an asset on his bankruptcy petition, Par 33 (DOC

                                                            -6-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
Case 8:21-bk-10768-SC           Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39                  Desc
                                 Main Document    Page 7 of 8



 1   1, Page 15 of 73), but concealed this fact and selected “no” when asked whether he had any “[c]laims
 2   against third parties, whether or not [Defendant has] filed a lawsuit or made a demand for payment” ,
 3   in violation of 11 U.S.C. §727(a)(2), (4); See In re Beezley, 994 F. 2d 1433, 1437, 1441 (9th Cir. 1993)
 4   (when a debtor fails to schedule a liability within his bankruptcy schedules, the creditor can seek later
 5   to have the liability declared non-dischargeable.)
 6          28.      Accordingly, pursuant to 11 U.S.C. § 523(a)(3) Defendant is not entitled to discharge.
 7   Additionally, this court should not grant Defendant a discharge as the debtor intended to hinder, delay,
 8   defraud Plaintiff, and conceal the Lien. 11 U.S.C. § 727(a)(2)(A) and (B)
 9
                                         THIRD CAUSE OF ACTION
10                                             (Against Defendant)
                         For a Determination that Defendant’s Debts are not Dischargeable
11                                      Pursuant to 11 U.S.C. § 727(a)(4)
12          29.      Plaintiff incorporates by reference the allegations contained above, as though set forth
13   fully herein.
14          30.      pursuant to 11 U.S.C. 727(a)(4) which provides in part:
15
                  “(a)       The court shall grant the debtor a discharge, unless—
16
                  (4)      the debtor knowingly and fraudulently, in or in connection with
17                the case—
18
                  (A)        made a false oath or account;
19
                  (B)        presented or used a false claim;
20
21                (C)       gave, offered, received, or attempted to obtain money, property,
                  or advantage, or a promise of money, property, or advantage, for acting or
22                forbearing to act; or
23                (D)          withheld from an officer of the estate entitled to possession under
24                this title, any recorded information, including books, documents, records,
                  and papers, relating to the debtor’s property or financial affairs;
25
26          31.      Defendant knowingly and fraudulently made a false oath, filed a false claim/petition and
27   withheld information from this Court by intentionally and purposefully failing to disclose the Woo
28   Matter (as an asset) and identify the Lien filed in the Woo Matter by listing Marc Lazo or K&L Law


                                                          -7-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
Case 8:21-bk-10768-SC          Doc 16 Filed 07/06/21 Entered 07/06/21 20:40:39                Desc
                                Main Document    Page 8 of 8



 1   Group, P.C., as a creditor. “A discharge in bankruptcy is a privilege, nor a right, and should only inure
 2   to the benefit of the honest debtor.” Matter of Juzwiak, 89 F. 3d 424, 427 (7th Cir. 1996). Bankruptcy
 3   law will not tolerate a dishonest debtor. See Kentile Floors v. Winham, 440 F. 2d 1128, 1131 (9th Cir.
 4   1971).
 5            32.    Accordingly, pursuant to 11 U.S.C. § 523(a)(3) Defendant is not entitled to discharge.
 6   Additionally, this court should not grant Defendant a discharge as the debtor intended to hinder, delay,
 7   defraud Plaintiff, and conceal the Lien. 11 U.S.C. § 727(a)(2)(A) and (B).
 8                                          PRAYER FOR RELIEF
 9            WHEREFORE, Plaintiff respectfully requests that this court assume jurisdiction in this entire
10   matter and enter judgment in favor of Plaintiff as follows:
11            1.     For a judgment and order denying Defendant a discharge pursuant to 11 USC
12   §523(a)(3), 11 USC §727(a)(2)(A) and (B) and 11 USC §727 (a)(4);
13            2.     For a judgment and order determining that the debts owed by the Defendant to Plaintiff
14   in an amount according to proof, are not dischargeable pursuant to 11 USC §523(a)(3), 11 USC
15   §727(a)(2)(A) and (B) and 11 USC §727 (a)(4);
16            3.     For costs and attorney’s fees incurred herein, and
17            4.     For such other and further relief this court deems just and proper.
18
19   Dated: July 6, 2021                           K&L LAW GROUP, P.C.
20
                                                   By:     ________________________________
21
                                                           MARC Y. LAZO
22                                                         Attorney for Plaintiff

23
24
25
26
27
28


                                                         -8-

      COMPLAINT TO DETERMINE (1) NON-DISCHARGEABILITY OF DEBT AND OBJECTION TO DISCHARGE OF DEBTOR
